Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 1 of 50 Pageid#:
                                   3534
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 2 of 50 Pageid#:
                                   3535
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 3 of 50 Pageid#:
                                   3536
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 4 of 50 Pageid#:
                                   3537
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 5 of 50 Pageid#:
                                   3538
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 6 of 50 Pageid#:
                                   3539
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 7 of 50 Pageid#:
                                   3540
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 8 of 50 Pageid#:
                                   3541
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 9 of 50 Pageid#:
                                   3542
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 10 of 50 Pageid#:
                                    3543
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 11 of 50 Pageid#:
                                    3544
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 12 of 50 Pageid#:
                                    3545
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 13 of 50 Pageid#:
                                    3546
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 14 of 50 Pageid#:
                                    3547
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 15 of 50 Pageid#:
                                    3548
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 16 of 50 Pageid#:
                                    3549
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 17 of 50 Pageid#:
                                    3550
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 18 of 50 Pageid#:
                                    3551
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 19 of 50 Pageid#:
                                    3552
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 20 of 50 Pageid#:
                                    3553
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 21 of 50 Pageid#:
                                    3554
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 22 of 50 Pageid#:
                                    3555
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 23 of 50 Pageid#:
                                    3556
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 24 of 50 Pageid#:
                                    3557
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 25 of 50 Pageid#:
                                    3558
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 26 of 50 Pageid#:
                                    3559
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 27 of 50 Pageid#:
                                    3560
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 28 of 50 Pageid#:
                                    3561
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 29 of 50 Pageid#:
                                    3562
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 30 of 50 Pageid#:
                                    3563
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 31 of 50 Pageid#:
                                    3564
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 32 of 50 Pageid#:
                                    3565
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 33 of 50 Pageid#:
                                    3566
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 34 of 50 Pageid#:
                                    3567
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 35 of 50 Pageid#:
                                    3568
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 36 of 50 Pageid#:
                                    3569
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 37 of 50 Pageid#:
                                    3570
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 38 of 50 Pageid#:
                                    3571
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 39 of 50 Pageid#:
                                    3572
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 40 of 50 Pageid#:
                                    3573
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 41 of 50 Pageid#:
                                    3574
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 42 of 50 Pageid#:
                                    3575
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 43 of 50 Pageid#:
                                    3576
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 44 of 50 Pageid#:
                                    3577
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 45 of 50 Pageid#:
                                    3578
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 46 of 50 Pageid#:
                                    3579
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 47 of 50 Pageid#:
                                    3580
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 48 of 50 Pageid#:
                                    3581
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 49 of 50 Pageid#:
                                    3582
Case 3:17-cv-00072-NKM-JCH Document 369-3 Filed 10/26/18 Page 50 of 50 Pageid#:
                                    3583
